

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS





NO. WR-73,446-01






DAVID WAYNE EVANS, Relator


v.


MONTGOMERY COUNTY DISTRICT CLERK, Respondent






ON APPLICATION FOR A WRIT OF MANDAMUS

CAUSE NO. 02-08-05575 IN THE 9th JUDICIAL DISTRICT COURT

FROM MONTGOMERY COUNTY





	Per curiam.


O R D E R




	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original
jurisdiction of this Court.  In it, he contends that he filed an application for a writ of habeas corpus
in the 9th Judicial District Court of Montgomery County, that more than 35 days have elapsed, and
that the application has not yet been forwarded to this Court.  

	 

	In these circumstances, additional facts are needed.  The respondent, the District Clerk of 
Montgomery County, is ordered to file a response, which may be made by: submitting the record on
such habeas corpus application; submitting a copy of a timely filed order which designates issues
to be investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex. Crim. App. 1992); stating that
the nature of the claims asserted in the application filed by Relator is such that the claims are not
cognizable under Tex. Code Crim. Proc. art 11.07, § 3; or stating that Relator has not filed an
application for habeas corpus in Montgomery County.  This application for leave to file a writ of
mandamus shall be held in abeyance until the respondent has submitted the appropriate response. 
Such response shall be submitted within 30 days of the date of this order.



Filed: March 3, 2010

Do not publish	


